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                   IN THE UNITED STATES DISTRICT COURT                  rIlr9,
                                                                                 "BURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIW-'-
                            BRUNSWICK DIVISIO N



UNITED STATES OF AMERIC A


      v.        CASE NO . : CR206-2 6


KYLE McCORMICK,
JAMES RAY SHEARIN
WENDELL O'NEAL
IKE GROOVER


                                     ORDER


      The Court has been advised that the issue raised in Defendant McCormick's

Motion in Limine in which he seeks to suppress any custodial statement made by him to

law enforcement officers has been resolved . Accordingly, said Motion in Limine i s

dismissed as moot.

      SO ORDERED , this day of February, 2007 .




                                     JIAMES E . GRAHAM
                                      N TED STATES MAGISTRATE JUDG E
